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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CESAR FIGUEROA
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )              CASE NO. CR.S-09-194 FCD
11                                         )
                       Plaintiff,          )
12                                         )              STIPULATION AND ORDER TO CONTINUE
           v.                              )              STATUS HEARING AND TO EXCLUDE TIME
13                                         )              PURSUANT TO THE SPEEDY TRIAL ACT
                                           )
14   CESAR FIGUEROA,                       )
     MARCUS WILLIAMS,                      )
15                                         )
                       Defendants.         )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on January 19, 2010. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for January 19, 2010, be continued until March 29, 2010. In addition, the parties
22   stipulate that the time period from January 19, 2010, to March 29, 2010, be excluded under the Speedy
23   Trial Act (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to provide defense counsel
24   with the reasonable time to prepare.
25
26   ///
27   ///
28   ///
               Case 2:09-cr-00194-KJM Document 26 Filed 01/12/10 Page 2 of 2


 1   DATED:January 12, 2010
 2
                          Respectfully submitted,
 3
     BENJAMIN B. WAGNER                             DANIEL BRODERICK
 4   United States Attorney                         Federal Defender
 5
 6    /s/ Lexi Negin for                            /s/ Lexi Negin
     JILL THOMAS                                    LEXI NEGIN
 7   Assistant U.S. Attorney                        Assistant Federal Defender
     Attorney for United States                     Attorney for Cesar Figueroa
 8
 9                                                  /s/ Lexi Negin for
                                                    MICHAEL HANSEN
10                                                  Attorney for Marcus Williams
11          IT IS SO ORDERED.
12   DATED: January 12, 2010
13
                                               _______________________________________
14
                                               FRANK C. DAMRELL, JR.
15                                             UNITED STATES DISTRICT JUDGE

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